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Expert Report
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Benjamin Perinn

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EXPERT REPORT tJ'F BEN.IAI\\'[IN PERIND
I, Benjam`tn Pe:rino, declare as follows:

|. ]'vty namel is Ben Perino.

2. l am over the age of itt and am otherwise competent to make this declaration 'i"his
declaration is based on my personal knowledge and, it`catlet! upon to do so, t witt testify that the
facts stated herein are true and accurate

3. l am currently the Chiet` E)tecutive Cl'ft'leer and a Senior Developer at tharda[.ey,
LTD (“Gttardal.ey“], a German company located at Daimierstr.'?, litide Eggenstein, Phone
Nttn‘tber: +49 (t}] Tll i' 'Ei"i' 'i"} .‘i“i' 4.

4. htost of the information contained in this report provides Guardat.ey with a
competitive advantage and is not generally known to the pnb|ic. [ therefore respectfully request
mar this report he filed and kept under sea|.

5. l implemented1 maintain and monitor GuardaLey`s data collection system used to
track and identify the lP addresses used by people to commit copyright infringement via the

BitTcrrent protocol. GttardaLey licenses this infringement detection system to lvlavericitEye UG

(“MEU”].

ti. t went to Earl Eng|er 'l`echnica| High school in Germany and graduated from there
in l'§i"§i"}.

?'. | have worked in the lnf`ormation Technology business since ZDDL l am a Senicr

Deveioper and System Architect with nearly 20 years ot` experience

E. Between E{Hli and EI'.iitl, l worked l`cr Siemens AG in t'.iennany. lnitially, l began
as a Develcpe;r and I'I` Specialist in Research and Development. ln this role, l was in charge of` the
development of 'I.'.iptical Identit'tcation Systems for 2[] matrix codes for process automation. ]
deveioped observing mechanisms for optical sensors that are used in any kind of` automated
assembly lines.

'=i. Thereafter, at Sieniens, t secured the rote ot` Senior l)eveioper and was charged
with the development of lndustria| Ethernet Hus Ana|ysis Sot’tware HANY.NH'[`I PN[U 't`ime and

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telegram analysis on real-time Ethernet. This software is described in detail at the following
website: h_ttp_:r_. n-_'.g._u_._._i_ndns_t_r_v_.s_i_e_in_er_t_s_._c_t_i_n_i-_d ata pnn|.- industrt-.- indu strt-'solutionsr scrviccs.-"cn.-'l_iont -
pi_iio-ert_.pdi`. EANY PNlCl records non-reactiver data traffic up to l Gbps with a resolution of lfl
nannseconds. The software engages in timestamping1 and the data is backed up in a format
readable with Wireshark. The software is an equivalent ot` Witeshark but designed for industrial
purposes with higher accuracy. lt is used to observe and identity network traffic. lt enables the
user to inspect relevant packets sent over the networks. Decoding network packets and writing
function that do this was my main focus.

ltl. Arottnd It'ltl'i'1 l worked at a department at Siemens where l was responsible for the

quality assurance for the automation development process of Sllvl.»lt'l`it`.` PCS T PDM section
maintenance and field device monitoring The key part of this job was tn pass new features
developed for Siemens' proprietary Monitoring software used to observe the correct functionality
of power plant automation and process summation systems

l 1. in 2tlt]B, l founded L'iuardaLey LTD and designed GuardaLey`s entire infringement

detection system which is now licensed to thU, and which M.EU uses to track and identify the IP
addresses using the BitTorrent protocol. itt UuardaLey, lplan and design soliware, lmaintain the
server inh*astructureto add new products, new services, new infrastrnctures, and l nm and monitor
the software on our scrvers. Speeitical|y, l programmed the HitTorrent tracking schware which
l‘vIEl.l uses.

12. l am not paid by ‘Jenice Pl, l_.l_.C for my testimony in this mattcr. However. M_EU
pays me an hourly rate ot`$!$tl per hour for preparation otthis report. However, it`required to reality
at any trial or deposition, l’v[El_l will compensate me a daily rate of $251'.}['.*.

l.'i. Attached as Exhibit “A,“ is a list of all cases in the last four years wherein l was

subpoenaed to testify either at a deposition or at trial. l did not have to appear ia all cases since
some of them were canceledisert|ed beforel had to appear. l cannot reproduce exactly which ones

were cancelled flee Ltst ot` Perino's Testirnony, Eithi|:-it “r't.“

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A. THE lnvmncsstlsn'r [}ETt;r:rlorv SvsTF.M acctrnarel,v Rv:conns Evmsncr, or
INFRINGEMENT or Woatcs Tartoucn THE BrrTonnEn'r Pno"ror:oL

l4. l'vtEl..l is in the business of providing forensic investigation services to copyright

owners around the world.1 Specilicaliy1 l'v[EU uses GuardaLey`s backend software and servers to

run the infringement detection system to track digital content and record the online downioading

and distribution of Plaintifl`s copyrighted works through the BitTorrent file distribution nenvorlt,

and subsequently identifies the interact Protocol (“lP"} addresses that are being used by infringers

to distribute these copyrighted works without authorization

l$. The data collection system provided to MELJ has the following components:

a proprietary BitTorrent t.'.'lient that anatyaes the Bittorrent traffic and writes
infringing transactions to a database;

servers running a MySQl_. database cluster which log verified infringing
transactions;

packet ana]y:r.ers1 also known as packet sniffers, which create and analyze
PCAPs;

servers that run the proprietary BitTonent Client and record PCPLPs;

servers that run BitTorrent Clients to download a reference copy of each version
of the work.

WURM [“Write Unee ltcad Many"] tape drives for storing Lhe PCAPs and
torrent data;

a program to synchronir.e the servets’ clocks with an atom eioclt;

a proprietary program which checks the content downloaded against the
reference illes.

a proprietary program tn nansmit the data

a proprietary program which checks the information contained in an Eitcet
Spreadsheet against what is in lvlySQl.. server`s log liles.

 

l Thitt is based on my review oft.hc Dcclara.tiort ufDa.nicl lé’ttrl'tt:idt's in St.tprpel‘t ufPla.itttiff`s Es' Pr.rrre Moti.otl
for Expedited Discovery.

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ld. This infringement detection system accurately collected and recorded evidence
proving that the lF' addresses in this case infringed Plaintiff’ s copyrighted work(s`]. .‘:i`ee List of
flases, ltclevant lP Addresses, and EitField Values attached hereto as Etthibit “l3."2

l?. The infringement detection system uses a proprietary BitTorrent client to connect
to the swann of infringers unlawtbliy sharing Plaintiff’s copyrighted movie. t]nce it has joined the
swarm, the infi'ingement detection system connects to infringing peers using a 'fthi'LP connection,
and begins to down|oad the unauthorized Eles from the lP addresses. Each of dtese infringing
transactions is also recorded in the fm'm of a FCAP.

ld. Data sent through the lntemet is delivered in the form of "packets” of information.
at PCAP is a computer file containing captured or recorded data transmitted between two
computers PCAP stands for “Paeket Capture.“ ‘fo provide evidence of infringement, the system
records each infringing transaction in the form ofa FEAP.

l':`l. The PEAPs are then stored on WDRM tapes. ‘“WURM" stands tbr “write-onee-
read-many." The reason we use WORM tapes are because once information is written thereon, it
cannot be modified This feature provides assurance that the data cannot he manipulated or altered
once it is written to the WURM tape. Each of the WUR.M tape drives is electronically stamped
with a German government issued time stamp at least every twenty-»four hours.

2l1 'l`he Wt}Rhtl tapes are then stored in a vault. The infringement detection system and
inhastructure fulfills the standards of the FCI security specifications which is one of the highest
security standards required by credit card processing companies Additionally. the datacenter
where all collected data is stored is certified lSDi]_EC ZTtltllll :Ztllji.

El. The infringement detection system uses a proprietary packet analyaer and
TCFDump {a free open»source packet analyzer} to record the infringing transactions in PCAPs.

'l'CPDump is widely used and is capable of accurately recording network traffic.

 

f The case numbers pertaining to each i.F address were provided by Piaintiff`s counsel, David |_owe.

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22. Here, the PCAPs are recordings of numerous BitTorrent computer transactions
during which the lP Addresses listed on Exhibit B sent pieces of an infringing computer tile fwhich
contain an unlawlitl copy of F'laintiff’s movie} to the servers. Each infringing transaction is also
resumed on a log. See lni`ringement Capturc Logs for Relevant lF addresses attached hereto as
Exhibit “C.”3 Each entry in the log file correlates to a specific PCAP file.

23. The infringement detection system does nor upload or distribute content; it was
created such that it is incapable of doing sn. lt only downloads tf'te content ft'om infringing if*
addresses.

24. The system also engages in enhanced surveillance to discover other digital media
tiles distributed by Defendant over the Bit'l'orrent Protoco|. dee additional Evidence i.ogs for
Relevant lP riddresses attached hereto as Exhibit “D.“‘i To compile the Additional Evidenee, a
separate surveillance system records lP addresses listed in a Bit'l`orrent swarm`s directory ['l`rackcr
and [}l-lT data] known to participate in sharing each of the third-party works. Therealier, the
surveillance system only records the title, hash values, date, and time of the lP address`s
participation within the third~party swarms. Unlike the TL"Pi'lP connection MEU establishes with
respect to lP addresses distributing l’laintiff's movies1 the surveillance system does nor establish
a direct 'I`CPfll"' connection nor does it transact with |P Addresses concerning third-party works
listed on the additional evidence.

25. GuadaLey is reouired, by German t-tighcourts, to provide expert contests reports for
its system on an annual basis, and its system has been successfully audited and tested by
independent expert witnesses in several countries For exarnple, Dr. Simone Richter and ltobert
|J. ‘r'oung each reviewed the system separately and both determined that it accurately identified fP
addresses distributing works via the BitTorrent network and that the P'Cihf*s accurately reflect the

data associated with the transactions 'l`he result of each examination is listed in more detail within

 

" The lnti'irtgemertt {_iap'ture Logs only includes log entries for l.he motion picture at issue in this eaac.
" sits a precautionary measurt:, lhavc asked plaintiffs counsel to file lite ¢Ihlbll under S't‘-E.l $lno¢ many of
thmc logs contain adult content titles.

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their respective expert reports. dies Dr. Simone R.ichter`s E`atpert Report attached hereto as Eahibit
“l:`.;" see also Robert 11 Young's F.ttpcrt Report is attached here to as E.xhibit “F.”
B. TCPHP CoNNscTIoa's Catvtvo"r Ba' SPooFi=_'.o ann Cartno'r ‘t*ltn,n Frtt.ss Fosrrtvss

26. fits previously stated, thc infringement detection system connects to the infringing
peers using a TCP."']'P connection. Ut’ten times in BitTorrent copyright infringement cases,
defendants claim that their iP address was spoofed. It is self-explanatory that l]’ spooting cannot
be used in this scenario when you understand what spoot`tng is.

21 1tittlth lP spocflng a very experienced network specialist tinitiator} can send
messages to an IP {recipient} pretending that this message was sent from annuier lP [t`ake senderr'
victim]. 'I'he recipient`s computer then automatically answers this message and sends the answer
back to the faite sender.t victim. This is usually used for DDUS attacks [denial of scrvice}_. where
the fake senderlf victim is flooded with hundreds of thousands oi` messages at the same time. This
can only be achieved by using a lot of computers {recipients`,l at the same time, attacking one
machine

23. To use this method to really receive usable packets, like in BitTorrent where the
content is used to put together the whole tile1 the Initiator would have to catch the packets coming
from the recipient before they reach the victims computer to be able to fake the whole continuous
communication. 1l*»lot only can this not be done by an average uscr, the effort to setup all ofthisjust
to download a movie is far too burdensome You need to bc a very experienced tccb-savvy person
with a large skillset irt network techniques and you would have to bc located in the same {local}
network to catch the packets. Accordingly, it is next to impossible that a party would use spooiing
in their use of` F_titTorrent.

29. Witii respect to the use of VFN where users are enabled to hide their lP' address by
using another l_l1 address as a frontcnd1 the infringement detection system would capture the
infringement from the frontend LP address. Eut such [P addresses would then belong to a

professional VPN service and would not belong to Comcast.

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E. 'Wurt'r was osteorso't

Jt]. The infringement detection system establishes a direct TCPH'P connection to the ]'F'
addresses and downloads loKB blocks which are verified to the original torrent via hash
comparison The significance ct` this direct connection is that the detection system can prove that
the IP‘ address provided illegal content at an enact time.

3]. Unce this direct connection is established, the system begins the process of
downloading a piece or pieces of the infringing computer file From the device connected to the
intemet through the l_P address as previously stated, the entire process and all of the transactions
are recorded and stored in a database and evidenced by stored PEaPs.

31 lvtELl lashed me with cffccntating, analyzing, reviewing and attesting to the results
of the investigation for the relevant IP addresses

33. Upon review of the forensic activity logs for the relevant IP addresses,l determined
that the forensic setvers were connected to electronic devices using the relevant [P addresses
Consequent to this connection_. the relevant IP addresses were documented as distributing to the
scrvers1 multiple pieces of Flaintiff’s copyrighted movie titled t}nce Upon rt Tt'me in Venice. The
foregoing activity is listed by ll`-' address in Etthibit C.

34. a digital lite can be identified by what is called a “Cryptographie Hash value".
This concept was developed by the Llnited States National Sceurity agency. The infringement
detection system determined that the file being distributed by the relevant lP addresses have
unique Cryptographic I-Iash as listed on E.tthibit C.

35. Full copies of the digital files identified by the different l'iashes were downioaded
by the system, and hthI_i confirmed these files are of the digital movie Unee Upon n Tr`me in
Vcnice. ME`.U further viewed this tile and determined it was substantially similar to ‘venice LLC*s

copyrighted movie titled Unee Upon o lime in Venr'ee 5.

 

"‘ all statements made within this report regarding the verification and comparison ofthc hashes between the
unauthorized copy of(.inlee t,l'pon r:t flare m Venr`:a and an authorized copy ofPlaintiff`s once fifteen a Tr'rrre in l'*enr`ee
is based on rn y review of the Dec|aration of l]aniel adicidt filed in support of Plaintit'f*s E,L,Eg.r_‘l'_g lvfotion for
Expet:liled Discovt'.'ry.

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36. ln addition to tlte correct IP, the validation of the content transferred and the
reference tile that was manually and audiovisua||y compared to the original movie the exact time
at which the infringement was captured is of importance We are able to provide synehroniaation
protocols to prove that the servers collecting the data were accurate and in sync with atom clocks
i.a. provided by the physical-technical federal institute Brt.mswick1 Gerrnany. Each capture is
covered by two protoco|s from two independent timeservers.

Ii'l'. For these reasons, the infringement detection system cannot yield a false positive.
lndeed, lite TCPr'lP connection actually occurred. ln making this direct peer-trapeer connection1
the infringement detection system shows, through a continued transaction that an lP address is
actively broadcasting Plaintili"s copyrighted movie. '[`he system also verifies the file downloaded
is art inh'inging copy of Plaintif`f's movie, and records the exact time of the direct peer-to-pecr
transaction. Thus, concerns about reassigned lP addresses and false pcsitives are overcome
because the infringer's ]'P address are time-specificl and verified as being received and
acknowledged by both parties. Furthennore, the connection is established 5 seconds before the
actual transmission and is kept upright at least 5 seconds after the transaction. l'vlost of tl'te time the
systems are cemented over multiple minutes an lP address change would interrupt and terminate

this connection.

ttt. Tns In trainor-:MENT C.ttrroar; Loc also anothoNaL Evrost~tt:.'t-: Loos Caat Pnr.set~rr
Fnoor TnaT each IF anonsss linesch m Corvnlctrr lnrnttvcstttstt'r

38. as previously discussed, tlte system engages in enhanced surveillance using a
Bit'forrcnt swarm's directory ['l`racker and Di-IT data]. This pmvides lleU with the titles of other
digital media liles distributed by the relevant lP addresses over the BitTorrent Frotocol. See
additional Evidence Logs for R.elevant lP addresses attached hereto as Exhibit “D."

39. Tracker and DHT data is generally accurate since participants regularly announce
themselves in the EitTorrent swam'ts. The additional Evidence can be used to support or enhance

the infringement information captured as explained below:

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a. 'f`he didditional F,vidcnce Log can potentially provide an infringer’s viewing
habits and interests and may be used to identify the actual infringer within a
household lndeed, it is possible to correlate these works with a list of` a
defendant‘s publicly displayed interest on social media.

b. et subscriber may claim that the infringer was a weekend guest. However, the
Additional Evidence Log (and even the Inf`ringemcnt Capture Log} may reflect
an lF' address engaging in constant and continual BitTorrent use over a period
of weeks or months.

c. The Additional Evidence Log [and even the infringement Capture |.og] can
establish that when a defendant left on a trip, infringement abruptly stopped.
And when the infringer returned from his trip, activities eontinuc.

d. The Additional Evidence Log can show downloading of extensive files in a
particular ianguage, which can help the parties determine the identity of the
ind-ingcr by determining the individual who speaks that particular language
within the househo]d.

att Accidcotal behavior becomes extremely unlikely when the ndditional Evidence
Log lists thematically consistent records over an extended period of tilnc {c.g., when the defendant
is art established photographer, and the Additiena| Evidence shows a multitude of photography
software deemioaded over a period of` a year}. Sirnply put, the data (as a thematic who|e] can
provide evidence of infringing activity tied to a specific IP address.

4| . Simifar to the Additional Evidence Logs, Infringement t'.`lapture Logs also establish
a time line (supported by direct TCPt[t-"' connections and PCAPs}. in addition1 upon request, we
can provide tlte name of the HitTorrent Protocol the infringer used in each infringing transaction.
This can be critical information because often times the infringer will use the exact same
Bit'forrent Pretccol over an extended amount of time and can even upgrade to a newer version of
the same BitTorrent Protcccl as it became available This type of record supports the argument
that the infringer is an individual with regular access to the f.P address rather than a one-time
interioper or weekend guest. The parties can also compare a defendant`s work or school schedule

with the timeline provided.

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E. Ir Is EllettLv lint.nceLv 'l'nar rare Et.r:crnonle nevree Ustne run ReLitvanr IP
noonessss Dlo Nor Dowi'~it.oao FLalNTIFF’s Corvnit;u'rrrn weak ro CoatPLe'non

42. The Court has asked that P'laintifl`produce expert testimony and evidence regarding
the likelihood that the infringer has n “playable” and actionable segment of the copyrighted work
at issue in this casc.

43. individuals are actively initiating the down load of a tile over the BitTorrent
network with the intention to download an enact copy of the whole work. 'l`he reason why
Eit'forrent was created, was to distribute and obtain large computer files as fast as possible with
the least network load. BitTorrent dow'nloads can therewith sometimes be faster than downloads
from single servcrs. With today*s bandwidtb and intemet speeds, an infringer can download an
average movie file in less than 2f1 minutes, and sometimes even in less than 5 minutesh lvfost often
files are downloaded quickly and remain available to others so that the amount of possible
download sources increase

44. The infringement detection system protocols the “BitFie|d“ value which is aise
contained in the PCAPs and in the infringement Log Files in Exhibit “C.” 'f`hc “Bit]"icld" ls data
which is exchanged during the handshake t_'and it also increases as the user continues to obtain
ntore bits ofthc works} between the infringer and another peer. lt informs the peer about the pieces
available for download and therefore the total amount of the torrent tile that the infringer lies
already downfonrt'ed and which the infringer is able to distribute to another peer upon request. in
other words, this broadcasted value provides other peers with the percentage of the file which the
infringer possesses Here, the BitFie|d values for the relevant iii addresses all range1 and the
majority are as high as ltlfl%. See List of`i'.]ases, Relcvant lF Addresses, and BitField llr"'alues
attached hereto as Exhibit “B.“ fn addition, Exhibil B also includes the total number of minutes
of the infringing copy which each BitField value represents.

45. l.ast|y, the infringement detection system documents copyright infringement in
BitTorrent networks, which would include a partial upload of copyrighted content to the system

from an lP address at a specific proven point in time. Thus, even without a complete copy of the

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matcria|, the infi'inger is still distributing copyrighted content to potentially thousands of other
infringers world-wide and actively helping them to put together the complete movie fi|e. Even it`
each peer would only provide a specific portion of the movie. a combination of a few peers
working together are enough to provide the full file to everyone, while none of litem may have a
complete copy.

f declare under penalty of perjury of the laws of the United States of erica that the

    

foregoing is true and correct

exncoreorhs &(uay ar disaster bre,surr.

 

